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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

    IN RE: NATIONAL PRESCRIPTION OPIATE
    LITIGATION                                         MDL No. 2804

    THIS DOCUMENT RELATES TO:                          Case No. 1:17-MD-2804

    All Cases                                          Judge Dan Aaron Polster



        NOTICE OF FORTY-SECOND AMENDED BANKRUPTCY COURT ORDER
        GRANTING INJUNCTION AGAINST CONTINUATION OF PROCEEDINGS
           AS TO RELATED PARTIES TO DEBTOR PURDUE PHARMA, L.P.
                         AND AFFILIATED DEBTORS

         Defendants David A. Sackler, Ilene Sackler Lefcourt, Kathe A. Sackler, Mortimer D.A.

Sackler, Richard S. Sackler, Theresa Sackler, Rosebay Medical Company L.P., Rosebay Medical

Company, Inc., Beacon Company, and Richard Sackler as alleged trustee of the alleged Trust for

               Members of
the Benefit of Members of the
                          the Raymond
                              Raymond Sackler Family (collectively,
                                      Sackler Family (collectively, the
                                                                    the "Sackler
                                                                        “Sackler Parties")1
                                                                                 Parties”)1

submit this Notice following their previous Notice of Forty-First Amended Bankruptcy Court

Order Granting Injunction filed December 23, 2024, ECF No. 5835.

         1.     On September 15, 2019, Purdue Pharma L.P. and several affiliated debtors

(collectively, "Purdue"
(collectively, “Purdue” or
                        or "Debtors")
                           “Debtors”) each
                                      each filed
                                           filed aa voluntary
                                                    voluntary petition
                                                              petition for relief under
                                                                       for relief under Chapter
                                                                                        Chapter 11
                                                                                                11

of the United States Bankruptcy Code in the United States Bankruptcy Court for the Southern

District of New York. The cases are jointly administered under the case captioned In re Purdue

                               (SHL) (Bankr.
Pharma L.P., Case No. 19-23649 (SHL) (Bankr. S.D.N.Y.) (the "Purdue
                                             S.D.N.Y.) (the “Purdue Bankruptcy Case”).
                                                                               Case").



1
       On October
       On  October 14,
                   14, 2019,
                       2019, Defendant
                             Defendant Beverly
                                       Beverly Sackler  passed away.
                                                Sackler passed away. See
                                                                      See Suggestion of Death,
                                                                          Suggestion of Death,
In re Purdue Pharma L.P., No. 19-23649 (SHL),
                                        (SHL), ECF   No.  301 (Bankr. S.D.N.Y. Oct. 14, 2019).
                                                ECF No. 301 (Bankr. S.D.N.Y. Oct. 14, 2019).
On June
On  June 30, 2020, Defendant
         30, 2020, Defendant Jonathan
                              Jonathan Sackler  passed away.
                                       Sackler passed  away. See
                                                               See Suggestion  of Death,
                                                                   Suggestion of  Death, In
                                                                                          In re
                                                                                             re
               L.P., No.
Purdue Pharma L.P.,  No. 19-23649
                         19-23649 (SHL),
                                  (SHL), ECF   No. 1316
                                         ECF No.   1316 (Bankr.
                                                         (Bankr. S.D.N.Y.
                                                                 S.D.N.Y. June 30, 2020).
                                                                          June 30, 2020).

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Plaintiffs in multiple member actions in this MDL Proceeding are creditors in the Purdue

Bankruptcy Case, and the Debtors filed a Notice of Suggestion of Bankruptcy and Automatic Stay

of Proceedings in this MDL Proceeding on September 16, 2019 (ECF No. 2609), notifying all

Plaintiffs of the bankruptcy filing.

       2.
       2.      On November 6, 2019, the Bankruptcy Court in the Purdue Bankruptcy Case issued

an order pursuant to 11 U.S.C. § 105(a) enjoining commencement or continuation of litigation

against any Debtor or Related Party, as defined therein, through April 8, 2020. See Second

Amended Order Pursuant to 11 U.S.C. § 105(a) Granting Motion for a Preliminary Injunction, In

re Purdue Pharma L.P., Case No. 12-23649 (SHL), Adv. Pro. No. 19-08289 (SHL), ECF No. 105

(Bankr. S.D.N.Y.
(Bankr.          Nov. 6,
        S.D.N.Y. Nov.    2019) (the
                      6, 2019) (the "Preliminary
                                    “Preliminary Injunction”).
                                                 Injunction"). Since
                                                               Since March 2020, there have

been numerous extensions of the Preliminary Injunction.

       3.
       3.      The Sackler Parties are Related Parties as defined in the Preliminary Injunction.

Plaintiffs asserting claims against the Sackler Parties in this MDL Proceeding have been subject

to the Preliminary Injunction, as amended, and those MDL member actions against the Sackler

Parties are included on the schedule of enjoined cases.

       4.      Following the
               Following the United
                             United States
                                    States Supreme Court’s decision
                                           Supreme Court's decision in
                                                                    in Harrington, U.S. Trustee,

Region 2 v. Purdue Pharma L.P., No. 23-124, Slip Op. (June 27, 2024), the Bankruptcy Court

entered an order extending the Preliminary Injunction, including as to claims against the Sackler

Parties, through and including September 9, 2024. See July 16, 2024 MDL Notice at In
                                                                                  ¶¶ 8-9, ECF

No. 5526.

       5.
       5.      The Bankruptcy Court subsequently entered additional orders regarding ongoing

mediation efforts and extending the Preliminary Injunction through January 24, 2025. See MDL

ECF Nos. 5628, 5660, 5732, 5799, and 5835.



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       6.
       6.      On January 27, 2025, the Bankruptcy Court entered further orders regarding

ongoing mediation efforts and extended the Preliminary Injunction through February 28, 2025.

See Forty-Second Amended Order Pursuant to 11 U.S.C. § 105(a) Granting Motion for a

Preliminary Injunction at 15-16, In re Purdue Pharma L.P., et al., Case No. 19-23649 (SHL), Adv.

Pro. No. 19-08289, ECF No. 656 (Bankr. S.D.N.Y. Jan. 27, 2025), a copy of which is attached to

this Notice as Exhibit 1.

       7.      Notwithstanding the filing of this Notice, the Sackler Parties expressly preserve all

of their defenses, including, but not limited to, lack of personal jurisdiction.

                                               Respectfully submitted,

                                               /s/ Stuart G. Parsell
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                                               Attorneys for Defendants Richard S. Sackler,
                                               Mortimer D.A. Sackler, Kathe Sackler, Ilene
                                               Sackler Lefcourt, Theresa Sackler, David Sackler,
                                               the Estate of Raymond Sackler, Rosebay Medical
                                               Company L.P., Rosebay Medical Company, Inc.,
                                               Beacon Company, and Richard Sackler as alleged
                                               Trustee of the alleged Trust for the Benefit of
                                               Members of the Raymond Sackler Family, and
                                               Former Attorneys to Jonathan Sackler (now
                                               deceased), individually and as alleged Trustee of the
                                               alleged Trust for the Benefit of Members of the
                                               Raymond Sackler Family, and Beverly Sackler
                                               (now deceased)




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 28th day of January, 2025, the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all

counsel of
counsel of record
           record by
                  by operation
                     operation of
                               of the
                                  the Court's
                                      Court’s electronic
                                              electronic filing system.
                                                         filing system.



                                                      /s/ Stuart G. Parsell
                                                      Stuart G. Parsell (0063510)

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